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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
)
NATIONAL TREASURY EMPLOYEES _ )
UNION, )
)
Plaintiff, )
)
Vv. ) Civil Action No. 25-0935 (PLF)

)
DONALD J. TRUMP, et al., )
)
Defendants. )
_)

ORDER

In light of Plaintiff's Motion for a Preliminary Injunction [Dkt. No. 9], it is hereby

ORDERED that the Court will hold oral argument on the motion for a preliminary
injunction on April 23, 2025 at 10:00 a.m. in Courtroom 29 in the William B. Bryant Annex to
the E. Barrett Prettyman Courthouse at 333 Constitution Avenue N.W., Washington,
D.C. 20001; it is

FURTHER ORDERED that the parties shall meet and confer and file a joint
status report on or before April 7, 2025 at 12:00 p.m. proposing deadlines for defendants’
response to plaintiff's motion for a preliminary injunction and plaintiff's reply in view of the oral
argument scheduled for April 23, 2025; and it is

FURTHER ORDERED that in anticipation of the hearing, the parties shall meet

and confer regarding the order of argument and time limits for opening argument and rebuttal.
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The parties shall file a joint report advising the Court of their proposed hearing schedule on or

before April 21, 2025.

SO ORDERED.
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PAUL L. FRIEDMAN
United States District Judge

DATE: 4 4 \a5
